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 5

 6                      UNITED STATES DISTRICT COURT
 7
                        CENTAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
 8

 9                                            Case No.:
     RAYMOND E GONZALES,
10
                 Plaintiff,
11                                            COMPLAINT AND DEMAND FOR
           vs.                                JURY TRIAL
12
                                              (Unlawful Debt Collection Practices)
13
     BANK OF AMERICA, N.A.
14
                 Defendant.
15

16

17                COMPLAINT AND DEMAND FOR JURY TRIAL
18         Plaintiff, Raymond Gonzales (Plaintiff), through his attorneys, alleges the
19   following against Defendant, Bank of America, (Defendant):
20                                 INTRODUCTION
21      1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer

22         Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute
23         that broadly regulates the use of automated telephone equipment. Among
24         other things, the TCPA prohibits certain unsolicited marketing calls,
25




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 1        restricts the use of automatic dialers or prerecorded messages, and delegates
 2        rulemaking authority to the Federal Communications Commission (“FCC”).
 3     2. Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt

 4        Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788, which
 5        prohibits debt collectors from engaging in abusive, deceptive and unfair
 6        practices in connection with the collection of consumer debts.
 7                           JURISDICTION AND VENUE
 8     3. Defendant conducts business in the State of California, and therefore,

 9        personal jurisdiction is established.
10     4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

11                                         PARTIES
12     5. Plaintiff is a natural person residing in Long Beach, Los Angeles County,

13        California.
14     6. Plaintiff is a consumer as defined by Cal. Civ. Code § 1788.2(h).

15     7. Defendant is a debt collector as that term is defined by Cal. Civ. Code

16        §1788.2(c), and sought to collect a consumer debt from Plaintiff.
17     8. Defendant is a corporation with its headquarters located in Charlotte, NC.

18     9. Defendant acted through its agents, employees, officers, members,

19        directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
20        representatives, and insurers.
21

22                            FACTUAL ALLEGATIONS
23     10. On January 11, 2011 Plaintiff, through his attorneys, filed for Chapter 13

24        bankruptcy, assigned to case number 2:11-bk-11248.
25     11. Plaintiff listed Defendant in Schedule D of his bankruptcy petition.



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 1     12. Plaintiff’s case was discharged on November 27, 2013. Upon information

 2        and belief, Defendant was notified of the discharge.
 3     13. After the discharge of Plaintiff’s bankruptcy case, Defendant began

 4        collection efforts to collect a debt from Plaintiff.
 5     14. Plaintiff started receiving calls to his cell phone beginning January, 2014.

 6        The calls came from the following telephone numbers: (805)579-9184,
 7        (877)481-1717,     (888)325-5357,      (800)669-0102,   (866)806-3983,   and
 8        (480)500-2519. Upon information and belief these numbers are owned or
 9        operated by Defendant.
10     15. On or around January 15, 2015, Plaintiff answered a call from Defendant

11        and spoke with a representative named “Efy”. Plaintiff informed Efy that his
12        Bank of America loan was discharged in bankruptcy. He provided the case
13        number and contact information for his bankruptcy attorney. Plaintiff was
14        transferred to another representative named “John”. Plaintiff also informed
15        John about his bankruptcy filing.
16     16. Plaintiff instructed Defendant that he did not owe the debt and not to call

17        him again.
18     17. Between February, 2014 and July, 2014 Defendant proceeded to call

19        Plaintiff on his cell phone eight (8) times.
20     18. Throughout February 2014 and July, 2014 Plaintiff answered the phone

21        multiple times and informed Defendant that this debt was discharged in
22        bankruptcy and he did not want to be called again.
23     19. On or about July 3, 2014, Plaintiff spoke with a representative named

24        “Karisa”, informing her about the bankruptcy filing. Karisa stated that the
25        account held by Defendant would be sent to collections at the end of the



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 1        months if Plaintiff didn’t pay in full. Plaintiff was then transferred to
 2        “Laura” who stated he would have to file bankruptcy a second time in order
 3        to resolve the debt.
 4     20. Upon information and belief, Defendant called Plaintiff’s cell phone on

 5        November 19, 2014 to collect on the debt.
 6
                                           COUNT I
 7
                             (Violations of the TCPA, 47 U.S.C. § 227)
 8
       21. Plaintiff incorporates by reference all of the above paragraphs of this
 9
          Complaint as though fully stated herein.
10
       22. Defendant violated the TCPA. Defendant’s violations include, but are not
11
          limited to the following:
12        (a)    Within four years prior to the filing of this action, on multiple
13        occasions,      Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which
14        states in pertinent part, “It       shall be unlawful for any person within the

15
          United States . . . to make any call (other than        a call made for
          emergency purposes or made with the prior express consent of the called
16
          party) using any automatic telephone dialing system or an artificial or
17
          prerecorded voice — to any telephone number assigned to a . . . cellular
18
          telephone service . . . or any service     for which the called party is charged
19
          for the call.
20        (b)    Within four years prior to the filing of this action, on multiple
21        occasions,      Defendant willfully and/or knowingly contacted Plaintiff at
22        Plaintiff’s cellular telephone      using an artificial prerecorded voice or an

23
          automatic telephone dialing system and as        such, Defendant knowing
          and/or willfully violated the TCPA.
24
       23. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
25
          to an award of five hundred dollars ($500.00) in statutory damages, for each


                           COMPLAINT AND DEMAND FOR JURY TRIAL
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 1        and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
 2        that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is
          entitled to an award of one thousand five hundred dollars ($1,500.00), for
 3
          each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
 4
          § 227(b)(3)(C).
 5

 6

 7                                         COUNT II
       (Violation of the Rosenthal Fair Debt Collection Practices Act, CAL. CIV.
 8
                                       CODE § 1788)
 9

10
       24. Plaintiff incorporates herein by reference all of the above paragraphs of this
11        complaint as though fully set forth herein at length.
12        Defendant violated the RFDCPA. Defendant’s violations include, but are
13        not limited to, the following:
14        (a)     Defendant violated CAL. CIV. CODE § 1788.10(f) by communicating to
          the debtor a threat to take an action against the debtor which is prohibited by
15
          this title;
16
          (b)     Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a
17
          telephone to ring repeatedly or continuously to annoy the person called; and
18
          (c)     Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating,
19        by telephone or in person, with the debtor with such frequency as to be
20        unreasonable and to constitute an harassment to the debtor under the
21        circumstances; and
22
          (d)     Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
          attempting to collect a consumer debt without complying with the provisions
23
          of Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States
24
          Code (Fair Debt Collection Practices Act).
25




                         COMPLAINT AND DEMAND FOR JURY TRIAL
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 1               (i)     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 2         U.S.C. § 1692d by engaging in conduct, the natural consequence of which is
           to harass, oppress or abuse any person in connection with the collection of
 3
           the alleged debt; and
 4
                 (ii)    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 5
           U.S.C. § 1692d(5) by causing Plaintiff’s phone to ring or engaging Plaintiff
 6
           in telephone conversations repeatedly;
 7               (iii)   Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
 8         U.S.C. § 1692f by using unfair or unconscionable means in connection with
 9         the collection of an alleged debt;

10
                 (iv)    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
           U.S.C. § 1692e(5) by threatening to take action that cannot legally be taken
11
           or is intended to be taken.
12
        25. Defendant’s acts, as described above, were done intentionally with the
13
           purpose of coercing Plaintiff to pay the alleged debt.
14
        26. As a result of the foregoing violations of the RFDCPA, Defendant is liable
15         to Plaintiff for declaratory judgment that Defendant’s conduce violated the
16         RFDCPA, actual damages, statutory damages, and attorneys’ fees and costs.
17      WHEREFORE, Plaintiff, Raymond E. Gonzales, respectfully requests judgment
18   be entered against Defendant, Bank of America, for the following:
19            A. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
20               Collection Practices Act, Cal. Civ. Code §1788.30(b),
21            B. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair
22               Debt Collection Practices Act, Cal. Civ Code § 1788.30(c), and
23            C. Any other relief that this Honorable Court deems appropriate.
24

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                          COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                     RESPECTFULLY SUBMITTED,
          Dated: May 22, 2015              By:/s/ Stuart Price           .
 2
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